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                              PX17
                   PX17 Attachment AD
 Photograph of address plate at 6260 Lookout Road
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